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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                     CASE MANAGEMENT TRACK DESIGNATION FORM
LEAGUE OF WOMEN VOTERS OF PENNSYLVANIA,
URBAN LEAGUE OF GREATER PITTSBURGH, AMY             :                        CIVIL ACTION
CAMPBELL, and WILLIAM GILLIGAN,                     :
                        v.                          :
KATHY BOOCKVAR, in her official capacity as
                                                    :
Secretary of the Commonwealth, et al.
                                                    :                        NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus – Cases brought under 28 U.S.C. § 2241 through § 2255.                             ( )

(b) Social Security – Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                   ( )

(c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

(d) Asbestos – Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                            ( )

(e) Special Management – Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                               ( )

(f) Standard Management – Cases that do not fall into any one of the other tracks.                   ( )


8/7/2020                             John P. Lavelle, Jr.                Plaintiffs
Date                                 Attorney-at-law                     Attorney for
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Attachment to Case Management Track Designation Form                                      Page 1 of 1


COMPLETE LIST OF DEFENDANTS                                      CIVIL ACTION NO.

KATHY BOOCKVAR, in her Official Capacity as Secretary of the Commonwealth of Pennsylvania
JESSICA MATHIS, in her Official Capacity as the Director of the Bureau of Election Services and
Notaries
ALLEGHENY COUNTY BOARD OF ELECTIONS
BUCKS COUNTY BOARD OF ELECTIONS
PHILADELPHIA COUNTY BOARD OF ELECTION
RICH FITZGERALD, in his official capacity as member of the Allegheny County Board of Elections
SAMUEL DeMARCO III, in his official capacity as member of the Allegheny County Board of Elections
BETHANY HALLAM, in her official capacity as member of the Allegheny County Board of Elections
DIANE M. ELLIS-MARSEGLIA, in her official capacity as member of the Bucks County Board of
Elections
GENE DiGIROLAMO, in his official capacity as member of the Bucks County Board of Elections
BRIAN T. McGUFFIN, in his official capacity as member of the Bucks County Board of Elections
AL SCHMIDT, in his official capacity as member of the Philadelphia County Board of Elections
LISA M. DEELEY, in her official capacity as member of the Philadelphia County Board of Elections
OMAR SABIR, in his official capacity as member of the Philadelphia County Board of Elections
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                              Civil Justice Expense and Delay Reduction Plan
                             Section 1:03 - Assignment to a Management Track

    (a)          The clerk of court will assign cases to tracks (a) through (d) based on the initial pleading.

    (b)           In all cases not appropriate for assignment by the clerk of court to tracks (a) through (d), the
plaintiff shall submit to the clerk of court and serve with the complaint on all defendants a case management
track designation form specifying that the plaintiff believes the case requires Standard Management or
Special Management. In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which that
defendant believes the case should be assigned.

    (c)         The court may, on its own initiative or upon the request of any party, change the track
assignment of any case at any time.
     (d)         Nothing in this Plan is intended to abrogate or limit a judicial officer's authority in any case
pending before that judicial officer, to direct pretrial and trial proceedings that are more stringent than those
of the Plan and that are designed to accomplish cost and delay reduction.
     (e)        Nothing in this Plan is intended to supersede Local Civil Rules 40.1 and 72.1, or the
procedure for random assignment of Habeas Corpus and Social Security cases referred to magistrate judges
of the court.
                            SPECIAL MANAGEMENT CASE ASSIGNMENTS
                             (See §1.02 (e) Management Track Definitions of the
                              Civil Justice Expense and Delay Reduction Plan)
     Special Management cases will usually include that class of cases commonly referred to as "complex
litigation" as that term has been used in the Manuals for Complex Litigation. The first manual was prepared
in 1969 and the Manual for Complex Litigation Second, MCL 2d was prepared in 1985. This term is
intended to include cases that present unusual problems and require extraordinary treatment. See §0.1 of the
first manual. Cases may require special or intense management by the court due to one or more of the
following factors: (1) large number of parties; (2) large number of claims or defenses; (3) complex factual
issues; (4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive discovery;
(7) exceptionally long time needed to prepare for disposition; (8) decision needed within an exceptionally
short time; and (9) need to decide preliminary issues before final disposition. It may include two or more
related cases. Complex litigation typically includes such cases as antitrust cases; cases involving a large
number of parties or an unincorporated association of large membership; cases involving requests for
injunctive relief affecting the operation of large business entities; patent cases; copyright and trademark
cases; common disaster cases such as those arising from aircraft crashes or marine disasters; actions brought
by individual stockholders; stockholder's derivative and stockholder's representative actions; class actions or
potential class actions; and other civil (and criminal) cases involving unusual multiplicity or complexity of
factual issues. See §0.22 of the first Manual for Complex Litigation and Manual for Complex Litigation
Second, Chapter 33.
